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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ROBERT ROSS,                                      Case No. 19-cv-06669-JST (AGT)
                                                        Plaintiff,
                                   8
                                                                                           RECUSAL ORDER
                                                 v.
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                                  10     AT&T MOBILITY, LLC,
                                                        Defendant.
                                  11

                                  12          TO THE CLERK OF THE COURT, ALL PARTIES, AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13          I, the undersigned judge of the court, finding myself disqualified in the above-entitled

                                  14   action, hereby recuse myself and request that discovery be referred to another magistrate judge.

                                  15          IT IS SO ORDERED.

                                  16   Dated: June 3, 2020

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                                                                                                   ALEX G. TSE
                                  19                                                               United States Magistrate Judge
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